MANDATE
               Case 1:09-cr-00213-DC
                 Case                Document
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                              UNITED STATES COURT OF APPEALS                              N.Y.S.D. Case #
                                             for the                                      09-cr-213(DC)
                                       SECOND CIRCUIT
                          ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 1st day of August, two thousand and sixteen,

     ____________________________________

     United States of America,                                   ORDER
                                                                 Docket Number: 16-2485
                  Appellee,

     v.                                                                 USDC SDNY
                                                                        DOCUMENT
     Bernard L. Madoff,                                                 ELECTRONICALLY FILED
                                                                        DOC #:   _________________
                  Defendant,                                            DATE FILED: October 17, 2016
                                                                                    ______________
     Frederick Banks,

               Appellant.
     _______________________________________



          A notice of appeal was filed on July 14, 2016. The filing fee of $505.00 was due to be paid
     to the district court by July 28, 2016. The case is deemed in default.

           Instructions for moving for in forma pauperis status are provided in the Court's instructions
     entitled "How to Appeal a Criminal Case in the United States Court of Appeals for the Second
     Circuit". The manual and the forms required to file the motion are enclosed with this order. They
     are also available on the Court's website www.ca2.uscourts.gov.

          IT IS HEREBY ORDERED that the appeal is dismissed effective August 22, 2016 unless
     by that date appellant either pays the fee in full, moves for in forma pauperis status in district
     court or, if district court has denied in forma pauperis status, moves in this Court for in forma
     pauperis status. If appellant has filed the motion in district court and the motion is pending,
     appellant must so advise this Court in writing by the same date.


                                                             For The Court:
                                                             Catherine O'Hagan Wolfe,
                                                             Clerk of Court




MANDATE ISSUED ON 10/17/2016
